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                       EXHIBIT 1
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 Part B: Response to Request for Administrative Remedy   FCI Seagoville, Texas


 Springer, Lindsey
 Register No.: 02580-063
 Remedy No.: 962199-Fl


 This is in response to your Request for Administrative Remedy
 receipted December 11, 2018, wherein you allege that: You were
 exposed to friable and non-friable cancer causing Asbestos and
 strong mold between on or about January 29, 2018 through on or
 about October 11, 2018 at your place of work, the outside
 warehouse. Staff were indifferent to your serious safety and
 medical needs to be provided oxygen-air-free from cancer causing
 asbestos and mold. Staff failed to protect you from exposure to
 cancer causing asbestos and mold. You were subjected to cruel
 and unusual punishment in violation of the eighth amendment of
 the Constitution of the United States.

Research into your request reveals that upon notification of
concerns of possible hazardous materials in the outside
Warehouse, FCI Seagoville has conducted the following:
To ensure that OSHA standards were being followed, bulk material
samples were taken in the Warehouse storage areas 1&2 by two
independent licensed contractors on 10/10/2018 and 10/18/2018.
The results of both bulk material samples read positive for
Asbestos Containing Materials (ACM) in the mastic that adheres
to the ceilings of the storage areas. Although present, the
Asbestos was determined to be non-friable. As a result, both
areas with ACM were sealed and labeled according to OSHA
standards.

On 10/18/2018 and 10/22/2018 air samples were taken by two
independent licensed contractors and the laboratory results for
both air samples read negative for airborne asbestos.

The Occupational Safety and Health Administration has quantified
an Asbestos Exposure to be as follows:

      1910.100l(c)
      Permissible exposure limit (PELS) --
      1910.1001 (c) (1)
      Time-weighted average limit (TWA). The employer shall
      ensure that no employee is exposed to an airborne
      concentration of asbestos in excess of 0.1 fiber per cubic
      centimeter of air as an eight (8)-hour time-weighted
      average (TWA) as determined by the method prescribed in
      Appendix A to this section, or by an equivalent method.
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       1910.1001 (c) (2)
       Excursion limit. The employer shall ensure that no employee
       is exposed to an airborne concentration of asbestos in
       excess of 1.0 fiber per cubic centimeter of air (1 f/cc) as
       averaged over a sampling period of thirty (30) minutes as
       determined by the method prescribed in Appendix A to this
       section, or by an equivalent method.

 Due to the results of the two air samples taken and analyzed by
 two independent contractors, it can be determined that that no
 exposure has taken place.

 Remediation by an independent licensed contractor of both areas
 with ACM is going to commence as soon as possible.  The areas
 with ACM will remain sealed until the contractor begins the
 remediation process.

 FCI Seagoville makes every effort to ensure a safe work
 environment for both staff and inmates.

 Based on the above facts/information/reasons, the relief you
 seek is denied.

If you are not satisfied with this response, you may appeal to
the South Central Regional Director, 344 Marine Forces Drive,
Grand Prairie, Texas 75051, via BP-DIR-10, within 20 calendar
days of the date of this response.


~~arden                                         Date
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                       EXHIBIT 2
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 Regional Administrative Remedy Appeal No. 962199-R2
 Part B - Response

 This is in response to your Regional Administrative Remedy
 Appeal receipted January 14, 2019. You claim you were exposed
 to asbestos while working in the institution warehouse at FCI
 Seagoville.

 A review of this matter reveals that sampling of the material in
 the storage rooms at the warehouse was conducted and found the
 black mastic to be composed of 5% Chrysotile. The mastic itself
 is considered to be non-friable and due to its composition, the
 only way for such material to become airborne would be by using
 an aggressive method such as grinding, ·drilling, or sanding.
 None of these methods was used on the mastic itself. Reg~rdless,
 in order to determine if it was airborne,· air sampling was also
 conducted and the results were negative.· Sampling was conducted
 by two independent contractors and both returned with the same
 results. The areas have been seiled and will remain sealed until
 the remediation p·rocess is complete.

 A review of the sampling documentation and speaking with FCI
 Seagoville staff indicates that proper procedures have been
 followed.

 This response is for informational purposes only.

 If you are dissatisfied wit~ this response, you may appeal to
 the Federal Bureau of Prisons~ Office of ·General Counsel,
 320 First Street, N.W., Washington, D.C. 20534.   Your appeal
 must be received in the Office of General Counsel within 30 days
 from the date of this response.

                 ..   . :.



 Date                                 ~ J.   F. Caraway
                                          Regional Director
